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5    Counsel for Plaintiff
     Symbology Innovations LLC
6
7                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
8
                                 SAN DIEGO DIVISION
9
10
     SYMBOLOGY INNOVATIONS LLC,
11
                          Plaintiff,
12
                                                   Case No. 3:19-cv-02473-CAB-MDD
13          v.
                                                   NOTICE OF VOLUNTARY
14
     ZARA USA, LLC                                 DISMISSAL PURSUANT TO
15                                                 FEDERAL RULE OF CIVIL
16                        Defendant.               PROCEDURE 41(a)(1)(A)(i)

17
18
19          TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

20          Plaintiff Symbology Innovations, LLC, pursuant to Rule 41(a)(1)(A)(i) of the

21   Federal Rules of Civil Procedure and Local Rule 77.2, hereby provides notice that is

22   dismisses WITHOUT prejudice all claims by Plaintiff against Defendant Zara USA,

23   LLC. Each party shall bear its own costs, expenses, and attorneys’ fees.

24
     Dated: May 6, 2020                                   Respectfully submitted,
25
26
                                                    s/ Kirk J. Anderson___
27                                                  BUDO LAW, P.C.
28                                                  Kirk J. Anderson
                                                                         NOTICE OF DISMISSAL
     Case No. 3:19-cv-02473-CAB-MDD           1.
 Case 3:19-cv-02473-CAB-MDD Document 12 Filed 05/06/20 PageID.71 Page 2 of 2



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5                                                     Counsel for Plaintiff
6                                                     Symbology Innovations LLC

7
8                                          CERTIFICATE OF SERVICE
9            I hereby certify that on May 6, 2020, I electronically filed the above documents
10    with the Clerk of Court using CM/ECF which will send electronic notification of such
11    filings to all registered counsel.
12
                                                      s/_Kirk J. Anderson___
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     Case No. 5:20-cv-00145-PSG-GJS
                                                 2.                        NOTICE OF DISMISSAL
